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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA


 STRIKE 3 HOLDINGS, LLC,                             Civil No. 18-cv-0771 (DWF/HB)

                     Plaintiff,
                                                      ORDER ON PLAINTIFF’S
 v.                                                   EX-PARTE APPLICATION
                                                     FOR EXTENSION OF TIME
 JOHN DOE subscriber assigned IP address                WITHIN WHICH TO
 24.118.222.86,                                      EFFECTUATE SERVICE ON
                                                      JOHN DOE DEFENDANT
                     Defendant.



      This matter is before the Court on Plaintiff’s Ex-Parte Application for Extension of

Time Within Which to Effectuate Service on John Doe Defendant (ECF No. 15). Having

reviewed the application and the files and records herein and finding that good cause has

been shown,

      IT IS HEREBY ORDERED that the Application (ECF No. 15) is GRANTED.

Plaintiff shall have until and including September 24, 2018 to effectuate service of a

summons and Complaint on Defendant.



Dated: June 19, 2018                      s/ Hildy Bowbeer
                                         HILDY BOWBEER
                                         United States Magistrate Judge
